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                   IN THE UNITED STATES DISTRICT COURT
                        DISTRICT OF SOUTH CAROLINA
                           CHARLESTON DIVISION

ALBERT GERBINO, JR.,                   )
                                       )   MDL NO. 2873
                                       )
              Plaintiff,               )   Master Dkt No: 2:18-mn-2873-RMG
                                       )
v.                                     )   Judge Richard Gergel
                                       )
3M COMPANY (f/k/a Minnesota            )                      2:22-cv-00929-RMG
                                           Civil Action No. _______________________
Mining and Manufacturing Company); )
AGC CHEMICALS AMERICAS INC.;           )   COMPLAINT AND JURY DEMAND
AMEREX CORPORATION;                    )
ARCHROMA U.S. INC.;                    )
ARKEMA, INC.;                          )
BUCKEYE FIRE EQUIPMENT COMPANY; )
CARRIER GLOBAL CORPORATION;            )
CHEMDESIGN PRODUCTS, INC.;             )
CHEMGUARD, INC.;                       )
CHEMICALS, INC.;                       )
CHEMOURS COMPANY FC, LLC;              )
CHUBB FIRE, LTD;                       )
CLARIANT CORP.;                        )
CORTEVA, INC.;                         )
DEEPWATER CHEMICALS, INC.;             )
DU PONT DE NEMOURS INC. (f/k/a         )
DOWDUPONT INC.);                       )
DYNAX CORPORATION;                     )
E.I. DU PONT DE NEMOURS AND            )
COMPANY;                               )
KIDDE-FENWAL, INC.;                    )
KIDDE P.L.C.;                          )
NATION FORD CHEMICAL COMPANY;          )
NATIONAL FOAM, INC.;                   )
THE CHEMOURS COMPANY;                  )
TYCO FIRE PRODUCTS LP, as              )
successor-in-interest to The Ansul Co; )
UNITED TECHNOLOGIES                    )
CORPORATION; and                       )
UTC FIRE & SECURITY AMERICAS           )
CORPORATION, INC. (f/k/a GE            )
Interlogix, Inc.),                     )
                                       )
              Defendants.              )
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                                        COMPLAINT


       COMES NOW, Plaintiff Albert Gerbino, Jr., by and through undersigned counsel and

upon information and belief, alleges as follows:

                                       INTRODUCTION

       1.      Plaintiff brings this action for damages for personal injury resulting from

exposure to aqueous film-forming foams (“AFFF”) containing the toxic chemicals collectively

known as per and polyfluoroalkyl substances (“PFAS”). PFAS includes, but is not limited to,

perfluorooctanoic acid (“PFOA”) and perfluorooctane sulfonic acid (“PFOS”) and related

chemicals including those that degrade to PFOA and/or PFOS.

       2.      For more than a decade, Albert Gerbino, Jr. worked as a firefighter for Philip

Morris, located in the State of Virginia, and in other firefighting capacities in Virginia.

       3.      AFFF is a specialized substance designed to extinguish petroleum-based fires.

It has been used for decades by military and civilian firefighters to extinguish fires in training

and in response to Class B fires.

       4.      Defendants collectively designed, marketed, developed, manufactured,

distributed, released, trained users, produced instructional materials, promoted, sold,

and/or otherwise released into the stream of commerce AFFF with knowledge that it

contained highly toxic and bio persistent PFAS, which would expose end users of the product

to the risks associated with PFAS. Further, defendants designed, marketed, developed,

manufactured, distributed, released, trained users, produced instructional materials,

promoted, sold and/or otherwise handled and/or used underlying chemicals and/or

products added to AFFF which contained PFAS for use in firefighting.


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       5.      PFAS binds to proteins in the blood of humans exposed to the material and

remains and persists over long periods of time. Due to their unique chemical structure, PFAS

accumulates in the blood and body of exposed individuals.

       6.      PFAS are highly toxic and carcinogenic chemicals. Defendants knew, or should

have known, that PFAS remain in the human body while presenting significant health risks

to humans.

       7.      Defendants’ PFAS-containing AFFF products were used by Plaintiff in their

intended manner, without significant change in the products’ condition. Plaintiff was

unaware of the dangerous properties of the Defendants’ AFFF products and relied on the

Defendants’ instructions as to the proper handling of the products. Plaintiff’s consumption,

inhalation and/or dermal absorption of PFAS from Defendant’s AFFF products caused him

to develop the serious medical conditions and complications alleged herein.

       8.      Albert Gerbino, Jr. has been diagnosed with pancreatic cancer caused by his

AFFF exposure and it is spreading through his body.

       9.      Through this action, Plaintiff seeks to recover compensatory and punitive

damages arising out of the permanent and significant damages sustained as a direct result of

his exposure to Defendants’ AFFF products at various locations during the course of his

training and firefighting activities.

                                 JURISIDICTION AND VENUE

       10.     The jurisdiction of this Court is invoked pursuant to 28 U.S.C. §1332(a)(1),

because the Plaintiff and Defendants are citizens of different states and the amount in

controversy exceeds $75,000.00, excluding interest and costs.

       11.     Venue is proper in this District Court pursuant to this Court’s Case


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Management Order (“CMO”) No. 3. Plaintiff states that but for the Order permitting direct

filing in the United States District Court for the District of South Carolina, Plaintiff would have

filed this Complaint in the United States District for the Eastern District of Virginia. Further,

in accordance with CMO 3, Plaintiff designates the United States District Court for the Eastern

District of Virginia as the home venue.

       12.     Venue is originally proper in the Eastern District of Virginia pursuant to 28

U.S.C. §1391 because: it is the judicial district in which Plaintiff was a resident and citizen; a

substantial part of the events or omissions giving rise to the claims occurred in the Eastern

District of Virginia; and Defendants conduct business within the Eastern District of Virginia.

                                            PARTIES

        13.    Plaintiff Albert Gerbino, Jr. is a citizen and resident of the State of Virginia,

currently residing in Victoria, Virginia.

        14.    Plaintiff regularly used, and was thereby directly exposed to, AFFF in training

and to extinguish fires during his working career as a civilian firefighter.

        15.    Plaintiff has been diagnosed with pancreatic cancer as a result of his exposure

to Defendants’ AFFF products.

        16.    Defendants are designers, marketers, developers, manufacturers, distributors,

releasers, instructors, promotors and sellers of PFAS-containing AFFF products or

underlying PFAS-containing chemicals used in AFFF production. The following Defendants,

at all times relevant to this lawsuit, manufactured, designed, marketed, distributed, released,

instructed, promoted and/or otherwise sold (directly or indirectly) PFAS-containing AFFF

products to various locations for use in fighting Class B fires such that each Defendant knew

or should have known the products would be delivered to areas for active use by Plaintiff


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during the course of training and firefighting activities.

        17.   Defendant 3M Company, f/k/a Minnesota Mining and Manufacturing

Company, (“3M”), is a Delaware corporation and does business throughout the United States.

3M has its principal place of business at 3M Center, St. Paul, Minnesota 55133.

        18.   3M designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, promoted, sold and/or otherwise handled

and/or used AFFF containing PFAS that are used in firefighting training and response

exercises which are the subject of this Complaint. Further, defendant designed, marketed,

developed, manufactured, distributed, released, trained users, produced instructional

materials, promoted, sold and/or otherwise handled and/or used underlying chemicals

and/or products added to AFFF which contained PFAS for use in firefighting.

        19.   Defendant AGC Chemicals Americas, Inc. (“AGC”) is a Delaware corporation

and does business throughout the United States. AGC has its principal place of business at 55

E. Uwchlan Ave., Suite 201, Exton, Pennsylvania 19341.

        20.   AGC designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, promoted, sold and/or otherwise handled

and/or used AFFF containing PFAS that are used in firefighting training and response

exercises which are the subject of this Complaint. Further, defendant designed, marketed,

developed, manufactured, distributed, released, trained users, produced instructional

materials, promoted, sold and/or otherwise handled and/or used underlying chemicals

and/or products added to AFFF which contained PFAS for use in firefighting.

        21.   Defendant Amerex Corporation (“Amerex”) is an Alabama corporation and

does business throughout the United States. Amerex has its principal place of business at


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7595 Gadsden Highway, Trussville, Alabama 35173.

        22.   Amerex designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, promoted, sold and/or otherwise handled

and/or used AFFF containing PFAS that are used in firefighting training and response

exercises which are the subject of this Complaint. Further, defendant designed, marketed,

developed, manufactured, distributed, released, trained users, produced instructional

materials, promoted, sold and/or otherwise handled and/or used underlying chemicals

and/or products added to AFFF which contained PFAS for use in firefighting.

        23.   Defendant Archroma U.S. Inc. (“Archroma”) is a North Carolina company and

does business throughout the United States. Archroma has its principal place of business at

5435 77 Center Drive, Charlotte, North Carolina 28217. Upon information and belief,

Archroma was formed in 2013 as part of the acquisition of Clariant Corporation’s Textile

Chemicals, Paper Specialties and Emulsions business by SK Capital Partners.

        24.   Archroma designed, marketed, developed, manufactured, distributed,

released, trained users, produced instructional materials, promoted, sold and/or otherwise

handled and/or used AFFF containing PFAS that are used in firefighting training and

response exercises which are the subject of this Complaint. Further, defendant designed,

marketed, developed, manufactured, distributed, released, trained users, produced

instructional materials, promoted, sold and/or otherwise handled and/or used underlying

chemicals and/or products added to AFFF which contained PFAS for use in firefighting.

        25.   Defendant Arkema, Inc. (“Arkema”) is a Pennsylvania corporation and does

business throughout the United States. Arkema has its principal place of business at 900 1 st

Avenue, King of Prussia, Pennsylvania 19406. Upon information and belief, assets of


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Arkema’s fluorochemical business were purchased by Defendant Dupont in 2002.

        26.   Arkema designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, promoted, sold and/or otherwise handled

and/or used AFFF containing PFAS that are used in firefighting training and response

exercises which are the subject of this Complaint. Further, defendant designed, marketed,

developed, manufactured, distributed, released, trained users, produced instructional

materials, promoted, sold and/or otherwise handled and/or used underlying chemicals

and/or products added to AFFF which contained PFAS for use in firefighting.

        27.   Defendant Buckeye Fire Equipment Company (“Buckeye”) is an Ohio

corporation and does business throughout the United States. Buckeye has its principal place

of business at 110 Kings Road, Mountain, North Carolina 28086.

        28.   Buckeye designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold and/or otherwise handled and/or used

AFFF containing PFAS that are used in firefighting training and response exercises which are

the subject of this Complaint. Further, defendant designed, marketed, developed,

manufactured, distributed, released, trained users, produced instructional materials,

promoted, sold and/or otherwise handled and/or used underlying chemicals and/or

products added to AFFF which contained PFAS for use in firefighting.

        29.   Defendant Carrier Global Corporation (“Carrier”) is a Delaware corporation

and does business throughout the United States. Carrier has its principal place of business at

13995 Pasteur Boulevard, Palm Beach Gardens, Florida 33418. Upon information and belief,

Carrier was formed in 2020 and is the parent company of Kidde-Fenwal, Inc., a manufacturer

of AFFF.


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        30.   Carrier designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, promoted, sold and/or otherwise handled

and/or used AFFF containing PFAS that are used in firefighting training and response

exercises which are the subject of this Complaint. Further, defendant designed, marketed,

developed, manufactured, distributed, released, trained users, produced instructional

materials, promoted, sold and/or otherwise handled and/or used underlying chemicals

and/or products added to AFFF which contained PFAS for use in firefighting.

        31.   Defendant ChemDesign Products, Inc. (“ChemDesign”) is a Texas corporation

and does business throughout the United States. ChemDesign has its principal place of

business at 2 Stanton Street, Marinette, Wisconsin 54143.

        32.   ChemDesign designed, marketed, developed, manufactured, distributed,

released, trained users, produced instructional materials, promoted, sold and/or otherwise

handled and/or used AFFF containing PFAS that are used in firefighting training and

response exercises which are the subject of this Complaint. Further, defendant designed,

marketed, developed, manufactured, distributed, released, trained users, produced

instructional materials, promoted, sold and/or otherwise handled and/or used underlying

chemicals and/or products added to AFFF which contained PFAS for use in firefighting.

        33.   Defendant Chemguard, Inc. (“Chemguard”) is a Wisconsin corporation and

does business throughout the United States. Chemguard has its principal place of business

at One Stanton Street, Marinette, Wisconsin 54143.

        34.   Chemguard designed, marketed, developed, manufactured, distributed,

released, trained users, produced instructional materials, sold and/or otherwise handled

and/or used AFFF containing PFAS that are used in firefighting training and response


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exercises which are the subject of this Complaint. Further, defendant designed, marketed,

developed, manufactured, distributed, released, trained users, produced instructional

materials, promoted, sold and/or otherwise handled and/or used underlying chemicals

and/or products added to AFFF which contained PFAS for use in firefighting.

        35.   Defendant Chemicals, Inc. (“Chemicals”) is a Texas corporation and does

business throughout the United States. Chemicals has its principal place of business at 12321

Hatcherville Road, Baytown, Texas 77521.

        36.   Chemicals designed, marketed, developed, manufactured, distributed,

released, trained users, produced instructional materials, promoted, sold and/or otherwise

handled and/or used AFFF containing PFAS that are used in firefighting training and

response exercises which are the subject of this Complaint. Further, defendant designed,

marketed, developed, manufactured, distributed, released, trained users, produced

instructional materials, promoted, sold and/or otherwise handled and/or used underlying

chemicals and/or products added to AFFF which contained PFAS for use in firefighting.

        37.   Defendant Chemours Company FC, LLC (“Chemours FC”), is a Delaware

corporation and does business throughout the United States. Chemours has its principal

place of business at 1007 Market Street, Wilmington, Delaware 19899. Chemours FC is a

subsidiary of The Chemours Company.

        38.   Chemours FC designed, marketed, developed, manufactured, distributed,

released, trained users, produced instructional materials, sold, and/or otherwise handled

and/or used AFFF containing PFAS that are the subject of this Complaint. Further, defendant

designed, marketed, developed, manufactured, distributed, released, trained users,

produced instructional materials, promoted, sold and/or otherwise handled and/or used


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underlying chemicals and/or products added to AFFF which contained PFAS for use in

firefighting.

         39.    Defendant Chubb Fire, Ltd. (“Chubb”) is a foreign private limited company,

with offices at Littleton Road, Ashford, Middlesex, United Kingdom TW15 1TZ. Upon

information and belief, Chubb is registered in the United Kingdom, registered number of

134210. Upon information and belief, Chubb is or has been composed of different

subsidiaries and/or divisions, including but not limited to, Chubb Fire & Security Ltd., Chubb

Security, PLC, Red Hawk Fire & Security, LLC, and/or Chubb National Foam, Inc.

         40.    Chubb Fire designed, marketed, developed, manufactured, distributed,

released, trained users, produced instructional materials, sold, and/or otherwise handled

and/or used AFFF containing PFAS that are the subject of this Complaint. Further, defendant

designed, marketed, developed, manufactured, distributed, released, trained users,

produced instructional materials, promoted, sold and/or otherwise handled and/or used

underlying chemicals and/or products added to AFFF which contained PFAS for use in

firefighting.

         41.    Defendant Clariant Corporation (“Clariant”) is a New York corporation and

does business throughout the United States. Clariant has its principal place of business at

4000 Monroe Road, Charlotte, North Carolina 28205.

         42.    Clariant designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, promoted, sold and/or otherwise handled

and/or used AFFF containing PFAS that are used in firefighting training and response

exercises which are the subject of this Complaint. Further, defendant designed, marketed,

developed, manufactured, distributed, released, trained users, produced instructional


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materials, promoted, sold and/or otherwise handled and/or used underlying chemicals

and/or products added to AFFF which contained PFAS for use in firefighting.

        43.   Defendant Corteva, Inc. (“Corteva”) is a Delaware Corporation that conducts

business throughout the United States. Its principal place of business is Chestnut Run Plaza

735, Wilmington, Delaware 19805. Corteva is the successor-in-interest to Dupont Chemical

Solutions Enterprise.

        44.   Corteva designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold, and/or otherwise handled and/or used

AFFF containing PFAS that are the subject of this Complaint. Further, defendant designed,

marketed, developed, manufactured, distributed, released, trained users, produced

instructional materials, promoted, sold and/or otherwise handled and/or used underlying

chemicals and/or products added to AFFF which contained PFAS for use in firefighting.

        45.   Defendant Deepwater Chemicals, Inc. (“Deepwater”) is a Delaware

corporation and does business throughout the United States. Deepwater’s principal place of

business is at 196122 E County Road 735, Woodward, Oklahoma 73801.

        46.   Deepwater designed, marketed, developed, manufactured, distributed,

released, trained users, produced instructional materials, promoted, sold and/or otherwise

handled and/or used AFFF containing PFAS that are used in firefighting training and

response exercises which are the subject of this Complaint. Further, defendant designed,

marketed, developed, manufactured, distributed, released, trained users, produced

instructional materials, promoted, sold and/or otherwise handled and/or used underlying

chemicals and/or products added to AFFF which contained PFAS for use in firefighting.

        47.   Defendant Du Pont de Nemours Inc. (f/k/a DowDuPont, Inc.) (“DowDuPont”),


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is a Delaware corporation and does business throughout the United States. DowDuPont, has

its principal place of business at 1007 Market Street, Wilmington, Delaware 19899 and 2211

H.H. Dow Way, Midland, Michigan 48674. DowDuPont was created in 2015 to transfer

Chemours and DuPont liabilities for manufacturing and distributing flurosurfactants to AFFF

manufacturers.

         48.    DowDuPont designed, marketed, developed, manufactured, distributed,

released, trained users, produced instructional materials, sold, and/or otherwise handled

and/or used AFFF containing PFAS that are the subject of this Complaint. Further, defendant

designed, marketed, developed, manufactured, distributed, released, trained users,

produced instructional materials, promoted, sold and/or otherwise handled and/or used

underlying chemicals and/or products added to AFFF which contained PFAS for use in

firefighting.

         49.    Defendant Dynax Corporation (“Dynax”) is a New York corporation that

conducts business throughout the United States. Its principal place of business is 103

Fairview Park Drive, Elmsford, New York, 10523-1544.

         50.    Dynax designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold, and/or otherwise handled and/or used

AFFF containing PFAS that are the subject of this Complaint. Further, defendant designed,

marketed, developed, manufactured, distributed, released, trained users, produced

instructional materials, promoted, sold and/or otherwise handled and/or used underlying

chemicals and/or products added to AFFF which contained PFAS for use in firefighting.

         51.    Defendant E. I. du Pont de Nemours and Company (“DuPont”), is a Delaware

corporation and does business throughout the United States. DuPont has its principal place


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of business at 1007 Market Street, Wilmington, Delaware 19898.

         52.    DuPont designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold, and/or otherwise handled and/or used

AFFF containing PFAS that are the subject of this Complaint. Further, defendant designed,

marketed, developed, manufactured, distributed, released, trained users, produced

instructional materials, promoted, sold and/or otherwise handled and/or used underlying

chemicals and/or products added to AFFF which contained PFAS for use in firefighting.

         53.    Defendant Kidde-Fenwal, Inc. (“Kidde-Fenwal”) is a corporation organized

under the laws of the State of Delaware and does business throughout the United States.

Kidde-Fenwal has its principal place of business at One Financial Plaza, Hartford, Connecticut

06101. Kidde-Fenwal is the successor-in-interest to Kidde Fire Fighting, Inc. (f/k/a Chubb

National Foam, Inc. f/k/a National Foam System, Inc.) (collectively, “Kidde/Kidde Fire”).

         54.    Kidde-Fenwal designed, marketed, developed, manufactured, distributed,

released, trained users, produced instructional materials, sold, and/or otherwise handled

and/or used AFFF containing PFAS that are the subject of this Complaint. Further, defendant

designed, marketed, developed, manufactured, distributed, released, trained users,

produced instructional materials, promoted, sold and/or otherwise handled and/or used

underlying chemicals and/or products added to AFFF which contained PFAS for use in

firefighting.

         55.    Defendant Kidde P.L.C., Inc. (“Kidde P.L.C.”) is a foreign corporation organized

and existing under the laws of the State of Delaware and does business throughout the

United States. Kidde P.L.C. has its principal place of business at One Carrier Place,

Farmington, Connecticut 06034. Upon information and belief, Kidde P.L.C. was formerly


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known as Williams Holdings, Inc. and/or Williams US, Inc.

         56.    Kidde P.L.C. designed, marketed, developed, manufactured, distributed,

released, trained users, produced instructional materials, sold, and/or otherwise handled

and/or used AFFF containing PFAS that are the subject of this Complaint. Further, defendant

designed, marketed, developed, manufactured, distributed, released, trained users,

produced instructional materials, promoted, sold and/or otherwise handled and/or used

underlying chemicals and/or products added to AFFF which contained PFAS for use in

firefighting.

         57.    Defendant Nation Ford Chemical Company (“Nation Ford”) is a South Carolina

company and does business throughout the United States. Nation Ford has its principal place

of business at 2300 Banks Street, Fort Mill, South Carolina 29715.

         58.    Nation Ford designed, marketed, developed, manufactured, distributed,

released, trained users, produced instructional materials, sold, and/or otherwise handled

and/or used AFFF containing PFAS that are the subject of this Complaint. Further, defendant

designed, marketed, developed, manufactured, distributed, released, trained users,

produced instructional materials, promoted, sold and/or otherwise handled and/or used

underlying chemicals and/or products added to AFFF which contained PFAS for use in

firefighting.

         59.    Defendant National Foam, Inc. (“National Foam”) is a Delaware corporation

and does business throughout the United States. National Foam has its principal place of

business at 141 Junny Road, Angier, North Carolina, 27501.

         60.    National Foam designed, marketed, developed, manufactured, distributed,

released, trained users, produced instructional materials, sold and/or otherwise handled


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and/or used AFFF containing PFAS that are used in firefighting training and response

exercises which are the subject of this Complaint. Further, defendant designed, marketed,

developed, manufactured, distributed, released, trained users, produced instructional

materials, promoted, sold and/or otherwise handled and/or used underlying chemicals

and/or products added to AFFF which contained PFAS for use in firefighting.

         61.    Defendant The Chemours Company (“Chemours”), is a Delaware corporation

and does business throughout the United States. Chemours has its principal place of business

at 1007 Market Street, Wilmington, Delaware 19898. Upon information and belief, Chemours

was spun off from DuPont in 2015 to assume PFAS-related liabilities.

         62.    Chemours designed, marketed, developed, manufactured, distributed,

released, trained users, produced instructional materials, sold, and/or otherwise handled

and/or used AFFF containing PFAS that are the subject of this Complaint. Further, defendant

designed, marketed, developed, manufactured, distributed, released, trained users,

produced instructional materials, promoted, sold and/or otherwise handled and/or used

underlying chemicals and/or products added to AFFF which contained PFAS for use in

firefighting.

         63.    Defendant Tyco Fire Products, LP, as successor-in-interest to The Ansul

Company (“Tyco”), is a Delaware limited partnership and does business throughout the

United States. Tyco has its principal place of business at 1400 Pennbrook Parkway, Lansdale,

Pennsylvania 19466. Tyco manufactured and currently manufactures the Ansul brand of

products, including Ansul brand AFFF containing PFAS.

         64.    Tyco is the successor in interest to the corporation formerly known as The

Ansul Company (“Ansul”). At all relevant times, Tyco/Ansul designed, marketed, developed,


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manufactured, distributed, released, trained users, produced instructional materials, sold

and/or otherwise handled and/or used AFFF containing PFAS that are used in firefighting

training and response exercises which are the subject of this Complaint. Further, defendant

designed, marketed, developed, manufactured, distributed, released, trained users,

produced instructional materials, promoted, sold and/or otherwise handled and/or used

underlying chemicals and/or products added to AFFF which contained PFAS for use in

firefighting.

         65.    Defendant United Technologies Corporation (“United Technologies”) is a

foreign corporation organized and existing under the laws of the State of Delaware and does

business throughout the United States. United Technologies has its principal place of

business at 8 Farm Springs Road, Farmington, Connecticut 06032.

         66.    United   Technologies    designed,   marketed,   developed,    manufactured,

distributed, released, trained users, produced instructional materials, sold, and/or

otherwise handled and/or used AFFF containing PFAS that are the subject of this Complaint.

Further, defendant designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, promoted, sold and/or otherwise handled

and/or used underlying chemicals and/or products added to AFFF which contained PFAS for

use in firefighting.

         67.    Defendant UTC Fire & Security Americas Corporation, Inc. (f/k/a GE Interlogix,

Inc.) (“UTC”) is a North Carolina corporation and does business throughout the United States.

UTC has its principal place of business at 3211 Progress Drive, Lincolnton, North Carolina

28092. Upon information and belief, Kidde-Fenwal, Inc., is part of the UTC Climate Control &

Security unit of United Technologies Corporation.


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        68.   UTC designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold, and/or otherwise handled and/or used

AFFF containing PFAS that are the subject of this Complaint. Further, defendant designed,

marketed, developed, manufactured, distributed, released, trained users, produced

instructional materials, promoted, sold and/or otherwise handled and/or used underlying

chemicals and/or products added to AFFF which contained PFAS for use in firefighting.

        69.   When reference is made in this Complaint to any act or omission of any of the

Defendants, it shall be deemed that the officers, directors, agents, employees, or

representatives of the Defendants committed or authorized such act or omission, or failed to

adequately supervise or properly control or direct their employees while engaged in the

management, direction, operation, or control of the affairs of Defendants, and did so while

acting within the scope of their duties, employment or agency.

        70.   The term “Defendant” or “Defendants” refers to all Defendants named herein

jointly and severally, unless otherwise stated.

                                  FACTUAL ALLEGATIONS

       71.    Aqueous Film-Forming Foam (“AFFF”) is a combination of chemicals used to

extinguish hydrocarbon fuel-based fires.

       72.    AFFF-containing fluorinated surfactants have better firefighting capabilities

than water due to their surfactant-tension lowering properties which allow the

compound(s) to extinguish fire by smothering it, i.e., starving the fire of oxygen.

       73.    AFFF is a Class-B firefighting foam. It is mixed with water and used to

extinguish fires that are difficult to fight, particularly those that involve petroleum or other

flammable liquids.


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         74.   AFFF was introduced commercially in the mid-1960s and rapidly became the

primary firefighting foam in the United States and in other parts of the world. It contains

PFAS, which are highly fluorinated synthetic chemical compounds whose family include

PFOS and PFOA.

         75.   PFAS are a family of chemical compounds containing fluorine and carbon

atoms.

         76.   PFAS have been used for decades in the manufacture of AFFF. The PFAS family

of chemicals are entirely human-made and do not naturally occur or otherwise exist.

         77.   Prior to commercial development and large-scale manufacture and use of

AFFF-containing PFAS, no such PFAS had been found or detected in human blood.

         78.   Defendants designed, marketed, developed, manufactured, distributed,

released, trained users, produced instructional materials, promoted, sold, and/or otherwise

handled AFFF containing toxic PFAS or underlying PFAS containing chemicals used in AFFF

production that were used by entities around the country, including military, county, and

municipal firefighting departments.

         79.   Defendants have each designed, marketed, developed, manufactured,

distributed, released, trained users on, produced instructional materials for, sold, and/or

otherwise handled and/or used AFFF containing PFAS, in such a way as to have caused the

contamination of Plaintiff’s blood and/or body with PFAS, thereby causing his cancer.

          A.    The Hazardous Effects of AFFF/PFAS on Humans

         80.   AFFF and its components are associated with a wide variety of adverse health

effects in humans.

         81.   Exposure to Defendants’ AFFF has been linked to serious medical conditions


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including, but not limited to, kidney cancer, testicular cancer, liver cancer, testicular tumors,

pancreatic cancer, prostate cancer, leukemia, lymphoma, bladder cancer, thyroid disease and

infertility.

        82.    By at least the end of the 1960s, animal toxicity testing performed by

Defendants manufacturing and/or using PFAS indicated that exposure to such materials,

including at least PFOA, resulted in various adverse health effects among multiple species of

laboratory animals, including toxic effects to the liver, testes, adrenals, and other organs and

bodily systems.

        83.    By at least the end of the 1960s, additional research and testing performed by

Defendants manufacturing and/or using PFAS indicated that such materials, including at

least PFOA, because of their unique chemical structure, were resistant to environmental

degradation and would persist in the environment, essentially unaltered, if allowed to enter

the environment.

        84.    By at least the end of the 1970s, additional research and testing performed by

Defendants manufacturing and/or using PFAS indicated that one or more such materials,

including at least PFOA and PFOS, because of their unique chemical structure, would bind to

proteins in the blood of animals and humans exposed to such materials, where such

materials would remain and persist over long periods of time and would accumulate in the

blood/body of the exposed individuals with each additional exposure.

        85.    By at least the end of the 1980s, additional research and testing performed by

Defendants manufacturing and/or using PFAS indicated that at least one such PFAS, PFOA,

had caused Leydig cell (testicular) tumors in a chronic cancer study in rats, resulting in at

least one such Defendant, DuPont, classifying such PFAS internally as a confirmed animal


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carcinogen and possible human carcinogen.

       86.    It was understood by Defendants by at least the end of the 1980s that a

chemical that caused cancer in animal studies must be presumed to present a cancer risk to

humans, unless the precise mechanism of action by which the tumors were caused was

known and would not occur in humans.

       87.    By at least the end of the 1980s, scientists had not determined the precise

mechanism of action by which any PFAS caused tumors. Therefore, scientific principles of

carcinogenesis classification mandated Defendants presume any such PFAS material that

caused tumors in animal studies could present a potential cancer risk to exposed humans.

       88.    By at least the end of the 1980s, additional research and testing performed by

Defendants manufacturing and/or using PFAS, including at least DuPont, indicated that

elevated incidence of certain cancers and other adverse health effects, including elevated

liver enzymes and birth defects, had been observed among workers exposed to such

materials, including at least PFOA, but such data was not published, provided to

governmental entities as required by law, or otherwise publicly disclosed at the time.

       89.    By at least the end of the 1980s, Defendants, including at least 3M and DuPont,

understood that, not only did PFAS, including at least PFOA and PFOS, get into and persist

and accumulate in human blood and in the human body, but that once in the human body

and blood, particularly the longer-chain PFAS, such as PFOS and PFOA, had a long half-life.

Meaning that it would take a very long time before even half of the material would start to

be eliminated, which allowed increasing levels of the chemicals to build up and accumulate

in the blood and/or body of exposed individuals over time, particularly if any level of

exposure continued.


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       90.       By at least the end of the 1990s, additional research and testing performed by

Defendants manufacturing and/or using PFAS, including at least 3M and DuPont, indicated

that at least one such PFAS, PFOA, had caused a triad of tumors (Leydig cell (testicular), liver,

and pancreatic) in a second chronic cancer study in rats.

       91.       By at least the end of the 1990s, the precise mechanism(s) of action by which

any PFAS caused each of the tumors found in animal studies had still not been identified,

mandating that Defendants continue to presume that any such PFAS that caused such tumors

in animal studies could present a potential cancer risk to exposed humans.

       92.       By at least 2010, additional research and testing performed by Defendants

manufacturing and/or using PFAS, including at least 3M and DuPont, revealed multiple

potential adverse health impacts among workers exposed to such PFAS, including at least

PFOA, such as increased cancer incidence, hormone changes, lipid changes, and thyroid and

liver impacts.

       93.       When the United States Environmental Protection Agency (“USEPA”) and

other state and local public health agencies and officials first began learning of PFAS

exposure in the United States and potential associated adverse health effects, Defendants

repeatedly assured and represented to such entities and the public that such exposure

presented no risk of harm and were of no significance.

       94.       After the USEPA and other entities began asking Defendants to stop

manufacturing and/or using certain PFAS, Defendants began manufacturing and/or using

and/or began making and/or using more of certain other and/or “new” PFAS, including PFAS

materials with six or fewer carbons, such as GenX (collectively “Short-Chain PFAS”).

       95.       Defendants manufacturing and/or using Short-Chain PFAS, including at least


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DuPont and 3M, are aware that one or more such Short-Chain PFAS materials also have been

found in human blood.

       96.    By at least the mid-2010s, Defendants, including at least DuPont and

Chemours, were aware that at least one Short-Chain PFAS had been found to cause the same

triad of tumors (Leydig (testicular), liver, and pancreatic) in a chronic rat cancer study as

had been found in a chronic rat cancer study with a non-Short-Chain PFAS.

       97.    Research and testing performed by and/or on behalf of Defendants making

and/or using Short-Chain PFAS indicates that such Short-Chain PFAS materials present the

same, similar, and/or additional risks to human health as had been found in research on

other PFAS materials, including cancer risk.

       98.    Nevertheless,     Defendants       repeatedly     assured   and     represented   to

governmental entities and the public that the presence of PFAS, including Short-Chain PFAS,

in human blood at the levels found within the United States present no risk of harm and is of

no legal, toxicological, or medical significance of any kind.

       99.    At all relevant times, Defendants, individually and/or collectively, possessed

the resources and ability but have intentionally, purposefully, recklessly, and/or negligently

chosen not to fund or sponsor any study, investigation, testing, and/or other research of any

kind of the nature that Defendants claim is necessary to confirm and/or prove that the

presence of any one and/or combination of PFAS in human blood causes any disease and/or

adverse health impact of any kind in humans, presents any risk of harm to humans, and/or

is of any legal, toxicological, or medical significance to humans, according to standards

Defendants deem acceptable.

       100.   Even after an independent science panel, known as the “C8 Science Panel,”


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publicly announced in the 2010s that human exposure to 0.05 parts per billion or more of

one PFAS, PFOA, had “probable links” with certain human diseases, including kidney cancer,

testicular cancer, ulcerative colitis, thyroid disease, preeclampsia, and medically-diagnosed

high cholesterol, Defendants repeatedly assured and represented to governmental entities,

their customers, and the public that the presence of PFAS in human blood at the levels found

within the United States presents no risk of harm and is of no legal, toxicological, or medical

significance of any kind, and have represented to and assured such governmental entities,

their customers, and the public that the work of the independent C8 Science Panel was

inadequate.

       101.   At all relevant times, Defendants shared and/or should have shared among

themselves all relevant information relating to the presence, biopersistence, and

bioaccumulation of PFAS in human blood and associated toxicological, epidemiological,

and/or other adverse effects and/or risks.

       102.   As of the present date, blood serum testing and analysis by Defendants,

independent scientific researchers, and/or government entities has confirmed that PFAS

materials are clinically demonstrably present in approximately 99% of the current

population of the United States.

       103.   There is no naturally-occurring “background,” normal, and/or acceptable level

or rate of any PFAS in human blood, as all PFAS detected and/or present in human blood is

present and/or detectable in such blood as a direct and proximate result of the acts and/or

omissions of Defendants.

       104.   At all relevant times, Defendants, through their acts and/or omissions,

controlled, minimized, trivialized, manipulated, and/or otherwise influenced the


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information that was published in peer-review journals, released by any governmental

entity, and/or otherwise made available to the public relating to PFAS in human blood and

any alleged adverse impacts and/or risks associated therewith, effectively preventing

Plaintiff from discovering the existence and extent of any injuries/harm as alleged herein.

       105.    At all relevant times, Defendants, through their acts and/or omissions, took

steps to attack, challenge, discredit, and/or otherwise undermine any scientific studies,

findings, statements, and/or other information that proposed, alleged, suggested, or even

implied any potential adverse health effects or risks or any other fact of any legal,

toxicological, or medical significance associated with the presence of PFAS in human blood.

       106.    At all relevant times, Defendants, through their acts and/or omissions,

concealed and/or withheld information from their customers, governmental entities, and

the public that would have properly and fully alerted Plaintiff to the legal, toxicological,

medical, or other significance and/or risk from having any PFAS material in Plaintiff’s blood.

       107.    At all relevant times, Defendants encouraged the continued and even further

increased use of PFAS by their customers and others, including but not limited to the

manufacture, use, and release of AFFF containing PFAS and/or emergency responder

protection gear or equipment coated with materials made with or containing PFAS, and tried

to encourage and foster the increased and further use of PFAS in connection with as many

products, uses, and applications as possible, despite having knowledge of the toxicity,

persistence, and bioaccumulation concerns associated with such activities.

       108.    To this day, Defendants deny that the presence of any PFAS in human blood,

at any level, is an injury or presents any harm or risk of harm of any kind, or is otherwise of

any legal, toxicological, or medical significance.


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       109.    To this day, Defendants deny that any scientific study, research, testing, or

other work of any kind has been performed that is sufficient to suggest to the public that the

presence of any PFAS material in human blood, at any level, is of any legal, toxicological,

medical, or other significance.

       110.    Defendants, to this day, affirmatively assert and represent to governmental

entities, their customers, and the public that there is no evidence that any of the PFAS found

in human blood across the United States causes any health impacts or is sufficient to generate

an increased risk of future disease sufficient to warrant diagnostic medical testing, often

referring to existing studies or data as including too few participants or too few cases or

incidents of disease to draw any scientifically credible or statistically significant conclusions.

       111.    Defendants were and/or should have been aware, knew and/or should have

known, and/or foresaw or should have foreseen that their design, marketing, development,

manufacture, distribution, release, training and response of users, production of

instructional materials, sale and/or other handling and/or use of AFFF containing PFAS

would result in the contamination of the blood and/or body of Plaintiff with PFAS, and the

biopersistence and bioaccumulation of such PFAS in his blood and/or body.

       112.    Defendants were and/or should have been aware, or knew and/or should have

known, and/or foresaw or should have foreseen that allowing PFAS to contaminate the blood

and/or body of Plaintiff would cause injury, including death.

       113.    Defendants did not seek or obtain permission or consent from Plaintiff before

engaging in such acts and/or omissions that caused, allowed, and/or otherwise resulted in

Plaintiff’s exposure to AFFF and the contamination of Plaintiff’s blood and/or body with

PFAS materials, and resulting biopersistence and bioaccumulation of such PFAS in his blood


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and/or body.

          B.    Defendants’ History of Manufacturing and Selling AFFF

         114.   3M began producing PFOS and PFOA by electrochemical fluorination in the

1940s; in the 1960s, 3M used its fluorination process to develop AFFF.

         115.   3M manufactured, marketed, and sold AFFF from the 1960s to the early

2000s.

         116.   National Foam and Tyco/Ansul began to manufacture, market, and sell AFFF

in the 1970s.

         117.   Buckeye began to manufacture, market, and sell AFFF in the 2000s.

         118.   In 2000, 3M announced it was phasing out its manufacture of PFOS, PFOA, and

related products, including AFFF. 3M, in its press release announcing the phase out, stated

“our products are safe,” and that 3M’s decision was “based on [its] principles of responsible

environment management.” 3M further stated that “the presence of these materials at [] very

low levels does not pose a human health or environmental risk.” In communications with the

EPA at that time, 3M also stated that it had “concluded that . . . other business opportunities

were more deserving of the company’s energies and attention . . .”

         119.   Following 3M’s exit from the AFFF market, the remaining Defendants

continued to manufacture and sell AFFF that contained PFAS and/or its precursors.

         120.   Defendants knew their customers warehoused large stockpiles of AFFF. In

fact, Defendants marketed their AFFF products by touting its shelf-life. Even after

Defendants fully understood the toxicity of PFAS, and their impacts to the health of humans

following exposure, Defendants concealed the true nature of PFAS. While Defendants phased

out production or transitioned to other formulas, they did not instruct their customers that


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they should not use AFFF that contained PFAS and/or their precursors. Defendants further

did not act to get their harmful products off the market.

       121.    Defendants did not warn public entities, firefighter trainees who they knew

would foreseeably come into contact with their AFFF products, or firefighters employed by

either civilian and/or military employers that use of and/or exposure to Defendants’ AFFF

products containing PFAS and/or its precursors would pose a danger to human health.

       122.    The Plaintiff directly used, was exposed, and/or was given AFFF to help fight

fires on a regular basis.

       123.    The Plaintiff was never informed that this product was inherently dangerous.

Nor was he warned about the known health risks associated with this product.

       124.    The Plaintiff never received or was told to use any specialized protective gear

to guard against the known dangerous propensities of this product.

       125.    Defendants have known of the health hazards associated with AFFF and/or its

compounds for decades and that, in their intended and/or common use, they would harm

human health.

       126.    Information regarding AFFF and its compounds was readily accessible to each

of the Defendants for decades because each is an expert in the field of AFFF manufacturing

and/or the materials needed to manufacture AFFF, and each has detailed information and

understanding about the chemical compounds that form AFFF products.

       127.    Defendants’ manufacture, distribution and/or sale of AFFF resulted in the

Plaintiff, and other individuals who came in contact with the chemical, to develop cancer.

       128.    Defendants, through their manufacturing, distribution and/or sale of AFFF

and through their involvement and/or participation in the creation of training and


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instructional materials and activities, knew, foresaw, and/or should have known and/or

foreseen that the Plaintiff and other firefighters would be harmed.

       129.     Defendants’ products were unreasonably dangerous; Defendants failed to

warn of this danger.

                                    COUNT I – NEGLIGENCE

       130.     Plaintiff hereby incorporates by reference the allegations contained in the

preceding paragraphs of this Complaint as if restated in full herein.

       131.     Defendants had a duty to individuals, including the Plaintiff, to exercise

reasonable ordinary, and appropriate care in the manufacturing, design, labeling, packaging,

testing, instruction, warning, selling, marketing, distribution, and training related to the

AFFF product.

       132.     Defendants breached their duty of care and were negligent, grossly negligent,

reckless and willful as described herein in the design, manufacture, labeling, warning,

instruction, training, selling, marketing, and distribution of the AFFF products or underlying

PFAS containing chemicals used in AFFF production in one or more of the following respects:

              A. Failing to design the products so as to avoid an unreasonable risk of harm to
                 individuals, including the Plaintiff;

              B. Failing to use reasonable care in the testing of the products so as to avoid an
                 unreasonable risk of harm to individuals, including the Plaintiff;

              C. Failing to use appropriate care in inspecting the products so as to avoid an
                 unreasonable risk of harm to individuals, including the Plaintiff;

              D. Failing to use appropriate care in instructing and/or warning the public as
                 set forth herein of risks associated with the products, so as to avoid
                 unreasonable risk of harm to individuals, including the Plaintiff;




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               E. Failing to use reasonable care in marketing, promoting, and advertising the
                  products so as to avoid unreasonable risk of harm to individuals, including
                  the Plaintiff;

               F. Otherwise negligently or carelessly designing, manufacturing, marketing,
                  distributing, warning; and

               G. In selling and or distributing a product which was inherently dangerous to

                  the public;

        133.     As a direct and proximate result of Defendants’ negligence, the Plaintiff has

 been injured, sustained severe and permanent pain, suffering, disability, impairment, loss of

 enjoyment of life, loss of care, comfort, economic loss and damages including, but not limited

 to medical expenses, lost income, and/or other damages.

       WHEREFORE, the Plaintiff prays judgments against the Defendants for actual,

compensatory, consequential, and punitive damages, together with the costs of this action,

and for such other and further relief as this Court may deem fit, just, and proper.

                                COUNT II – INADEQUATE WARNING

        134.     Plaintiff hereby incorporates by reference the allegations contained in the

 preceding paragraphs of this Complaint as if restated in full herein.

        135.     Defendants knew or should have known:

         A.       exposure to AFFF containing PFAS was hazardous to human health;

         B.       the manner in which they were designing, marketing, developing,
                  manufacturing, distributing, releasing, training, instructing, promoting, and
                  selling AFFF containing PFAS was hazardous to human health; and

         C.       the manner in which they were designing, marketing, developing,
                  manufacturing, marketing, distributing, releasing, training, instructing,
                  promotion and selling AFFF 30 containing PFAS would result in the
                  contamination of Plaintiff’s blood and/or body as a result of exposure.




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        136.   Defendants had a duty to warn of the hazards associated with AFFF containing

PFAS entering the blood and/or body of Plaintiff because they knew of the dangerous,

hazardous, and toxic properties of AFFF containing PFAS. Defendants failed to provide

sufficient warning to purchasers that the use of their AFFF products would cause PFAS to be

released and cause the exposure and bioaccumulation of these toxic chemicals in the blood

and/or body of Plaintiff.

        137.   Adequate instructions and warnings on the AFFF containing PFAS could have

reduced or avoided these foreseeable risks of harm and injury to Plaintiff. If Defendants

provided adequate warnings:

         A.     Plaintiff could have and would have taken measures to avoid or lessen
                exposure; and

         B.     end users and governments could have taken steps to reduce or prevent the
                release of PFASs into the blood and/or body of Plaintiff. Defendants’ failure
                to warn was a direct and proximate cause of Plaintiff’s injuries from PFAS
                that came from the use, storage, and disposal of AFFF containing PFAS.
                Crucially, Defendants’ failure to provide adequate and sufficient warnings for
                the AFFF containing PFAS they designed, marketed, manufactured,
                distributed, released, promoted, and sold renders the AFFF a defective
                product.

        138.   Defendants were negligent in their failure to provide Plaintiff with adequate

warnings or instruction that the use of their AFFF products would cause PFAS to be released

into the blood and/or body of Plaintiff. As a result of Defendants’ conduct and the resulting

contamination, Plaintiff suffered severe personal injuries by exposure to AFFF containing

PFAS.

        139.   Defendants’ negligent failure to warn directly and proximately caused the

harm to and damages suffered by Plaintiff.




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       WHEREFORE, the Plaintiff prays judgments against the Defendants for actual,

compensatory, consequential, and punitive damages, together with the costs of this action,

and for such other and further relief as this Court may deem fit, just, and proper.

                               COUNT III – DESIGN DEFECT

       140.   Plaintiff hereby incorporates by reference the allegations contained in the

preceding paragraphs of this Complaint as if restated in full herein.

       141.   Defendants knew or should have known:

        A.     exposure to AFFF containing PFAS is hazardous to human health;

        B.     the manner in which AFFF containing PFAS was designed, manufactured,
               marketed, distributed, and sold was hazardous to human health; and

        C.     the manner in which AFFF containing PFAS was designed, manufactured,
               marketed, distributed, and could and would release PFAS into Plaintiff and
               cause the exposure and bioaccumulation of these toxic and poisonous
               chemicals in the blood and/or body of Plaintiff.

       142.   Knowing of the dangerous and hazardous properties of the AFFF containing

PFAS, Defendants could have designed, manufactured, marketed, distributed, and sold

alternative designs or formulations of AFFF that did not contain hazardous and toxic PFAS.

These alternative designs and formulations were already available, practical, and

technologically feasible. The use of these alternative designs would have reduced or

prevented reasonably foreseeable harm to Plaintiff caused by the Defendants’ design,

manufacture, marketing, distribution, and sale of AFFF containing hazardous and toxic PFAS.

       143.   The AFFF containing PFAS that was designed, manufactured, marketed,

distributed, and sold by the Defendants was so hazardous, toxic, and dangerous to human




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health that the act of designing, formulating, manufacturing, marketing, distributing, and

selling this AFFF was unreasonably dangerous under the circumstances.

        144.   The AFFF designed, formulated, manufactured, marketed, distributed, and

sold by Defendants was defectively designed and the foreseeable risk of harm could and

would have been reduced or eliminated by the adoption of a reasonable alternative design

that was not unreasonably dangerous. Defendants’ defective design and formulation of AFFF

containing PFAS was a direct and proximate cause of the contamination of the blood and/or

body of Plaintiff and the persistence and accumulation of PFAS in Plaintiff’s blood and/or

body.

        145.   Defendants’ defective design and formulation of AFFF containing PFAS caused

the contamination described herein resulting in personal injuries to Plaintiff. As a direct

result of the harm and injury caused by Defendants’ defective design and the contamination

described herein, Plaintiff has been exposed to AFFF containing PFAS and other toxic

substances and has developed cancer.

        146.   Defendants’ negligent failure to design a reasonably safe product directly and

proximately caused the harm to and damages suffered by Plaintiff.

        WHEREFORE, the Plaintiff pray judgments against the Defendants for actual,

compensatory, consequential, and punitive damages, together with the costs of this action,

and for such other and further relief as this Court may deem fit, just, and proper.

                       COUNT IV – STRICT LIABILITY (STATUTORY)

        147.   Plaintiff hereby incorporates by reference the allegations contained in the

preceding paragraphs of this Complaint as if restated in full herein.

        148.   Plaintiff asserts any and all remedies available under statutory causes of action


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from Plaintiff’s state for strict liability against each Defendant.

       149.    The Defendants were engaged in designing, manufacturing, marketing, selling,

and distribution of AFFF.

       150.    AFFF was in a defective condition and unreasonably dangerous to users

and/or consumers when designed, manufactured, marketed, sold, and/or distributed to the

public by the Defendants.

       151.    As a direct and proximate result of the Defendants products’ aforementioned

defects, the Plaintiff has been injured, sustained severe and permanent pain, suffering,

disability, impairment, loss of enjoyment of life, loss of care, comfort, economic loss and

damages including, but not limited to medical expenses, lost income, and other damages.

       152.    The Defendants are strictly liable in tort to the Plaintiff for their wrongful

conduct.

        WHEREFORE, the Plaintiff prays judgments against the Defendants for actual,

compensatory, consequential, and punitive damages, together with the costs of this action,

and for such other and further relief as this Court may deem fit, just, and proper.

                      COUNT V – STRICT LIABILITY (RESTATEMENT)

       153.    Plaintiff hereby incorporates by reference the allegations contained in the

preceding paragraphs of this Complaint as if restated in full herein.

       154.    The Plaintiff brings strict product liability claims under the common law,

Section 402A of the Restatement of Torts (Second), and/or Restatement of Torts (Third)

against Defendants.

       155.    As designed, manufactured, marketed, tested, assembled, equipped,

distributed and/or sold by the Defendants the AFFF product was in a defective and


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unreasonably dangerous condition when put to reasonably anticipated use to foreseeable

consumers and users, including the Plaintiff.

       156.   The Defendants had available reasonable alternative designs which would

have made the AFFF product safer and would have most likely prevented the injuries and

damages to the Plaintiff, thus violating state law and the Restatement of Torts.

       157.   The Defendants failed to properly and adequately warn and instruct the

Plaintiff as to the proper safety and use of the Defendants product.

       158.   The Defendants failed to properly and adequately warn and instruct the

Plaintiff regarding the inadequate research and testing of the product.

       159.   The Defendants’ products are inherently dangerous and defective, unfit and

unsafe for their intended and reasonably foreseeable uses, and do not meet or perform to

the expectations.

       160.   As a proximate result of the Defendants’ design, manufacture, marketing, sale,

and distribution of the products, the Plaintiff has been injured and sustained severe and

permanent pain, suffering, disability, impairment, loss of enjoyment of life, loss of care,

comfort, and consortium, and economic damages.

       161.   By reason of the foregoing, the Defendants are strictly liable for the injuries

and damages suffered by the Plaintiff, caused by these defects in the AFFF product.

       WHEREFORE, the Plaintiff prays judgments against the Defendants for actual,

compensatory, consequential, and punitive damages, together with the costs of this action,

and for such other and further relief as this Court may deem fit, just, and proper.




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                        COUNT VI – FRAUDULENT CONCEALMENT

       162.   Plaintiff hereby incorporates by reference the allegations contained in the

preceding paragraphs of this Complaint as if restated in full herein.

       163.   Throughout the relevant time period, Defendants knew that their products

were defective and unreasonably unsafe for their intended purpose.

       164.   Defendants fraudulently concealed from and/or failed to disclose to or warn

the Plaintiff, and the public that their products were defective, unsafe, and unfit for the

purposes intended, and that they were not of merchantable quality.

       165.   Defendants were under a duty to the Plaintiff and the public to disclose and

warn of the defective and harmful nature of the products because:

        A.     Defendants were in a superior position to know the true quality, safety and
               efficacy of the Defendants’ products;

        B.     Defendants knowingly made false claims about the safety and quality of the
               Defendants’ product in documents and marketing materials; and

        C.     Defendants fraudulently and affirmatively concealed the defective nature of
               the Defendants’ products from the Plaintiff.

       166.   The facts concealed and/or not disclosed by Defendants to the Plaintiff were

material facts that a reasonable person would have considered to be important in deciding

whether or not to purchase and/or use the Defendants’ products.

       167.   Defendants intentionally concealed and/or failed to disclose the true defective

nature of the products so that the Plaintiff would use the Defendants’ products, the Plaintiff

justifiably acted or relied upon, to Plaintiff’s detriment, the concealed and/or non-disclosed

facts as evidenced by Plaintiff’s use of the Defendants’ products.




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       168.    Defendants, by concealment or other action, intentionally prevented the

Plaintiff from acquiring material information regarding the lack of safety and effectiveness

of the Defendants’ products and are subject to the same liability to the Plaintiff for Plaintiff’s

pecuniary losses, as though Defendants had stated the non-existence of such material

information regarding the Defendants’ products’ lack of safety and effectiveness and dangers

and defects, and as though Defendants had affirmatively stated the non-existence of such

matters that the Plaintiff was thus prevented from discovering the truth. Defendants

therefore have liability for fraudulent concealment under all applicable laws, including, inter

alia, Restatement (Second) of Torts §550 (1977).

       169.    As a proximate result of Defendants’ conduct, the Plaintiff has been injured,

and sustained severe and permanent pain, suffering, disability, impairment, loss of

enjoyment of life, loss of care, comfort, and economic damages.

       WHEREFORE, the Plaintiff prays judgments against the Defendants for actual,

compensatory, consequential, and punitive damages, together with the costs of this action,

and for such other and further relief as this Court may deem fit, just, and proper.

              COUNT VII – BREACH OF EXPRESS AND IMPLIED WARRANTIES

       170.    Plaintiff hereby incorporates by reference the allegations contained in the

preceding paragraphs of this Complaint as if restated in full herein.

       171.    At all times relevant hereto, the Defendants manufactured, marketed, labeled,

and sold the AFFF products that has been previously alleged and described herein.

       172.    At the time the Defendants designed, developed, marketed, sold, labeled, and

distributed the AFFF products, the Defendants knew of the use for which it was intended,




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and implied and/or expressly warranted that the product was merchantable, safe, and fit for

its intended purpose.

       173.   The Defendants warranted that the product was merchantable and fit for the

particular purpose for which it was intended and would be reasonably safe. These

warranties were breached, and such breach proximately resulted in the injuries and

damages suffered by the Plaintiff.

       174.   The Plaintiff is within the class of foreseeable users and reasonably relied

upon Defendants' judgment, and the implied and/or express warranties in using the

products.

       175.   The Defendants breached their implied and/or express warranties and did not

meet the expectations for the performance of the product when used for its intended use and

was neither of merchantable quality nor safe for its intended use in that the product has a

propensity to cause serious injury, pain, and cancer.

       WHEREFORE, the Plaintiff prays judgments against the Defendants for actual,

compensatory, consequential, and punitive damages, together with the costs of this action,

and for such other and further relief as this Court may deem fit, just, and proper.

                                COUNT VIII – WANTONNESS

       176.   Plaintiff hereby incorporates by reference the allegations contained in the

preceding paragraphs of this Complaint as if restated in full herein.

       177.   Defendants and their employees, agents, officers, and representatives owed a

duty of care to end users of their AFFF products, including Plaintiff.

       178.   Defendants breached the duty of care owed to the Plaintiff.




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        179.    The actions of Defendants and their employees, agents, officers, and

representatives were willful and wanton and exhibited a reckless disregard for the life,

health, and safety of the end users of Defendants’ AFFF products, including Plaintiff.

        180.    As a proximate and foreseeable consequent of the actions of Defendants,

Plaintiff was exposed to unreasonably dangerous toxic PFAS containing AFFF, which caused

Plaintiff’s injury.

        WHEREFORE, the Plaintiff prays judgments against the Defendants for actual,

compensatory, consequential, and punitive damages, together with the costs of this action,

and for such other and further relief as this Court may deem fit, just, and proper.

                         TOLLING OF THE STATUTE OF LIMITATIONS
                                    Discovery Rule Tolling

        181.    Plaintiff had no way of knowing about the risk of serious injury associated with

the use of and exposure to AFFF until very recently.

        182.    Within the time period of any applicable statute of limitations, Plaintiff could

not have discovered, through the exercise of reasonable diligence, that exposure to AFFF is

harmful to human health.

        183.    Plaintiff did not discover and did not know of facts that would cause a

reasonable person to suspect the risk associated with the use of and exposure to AFFF; nor

would a reasonable and diligent investigation by Plaintiff have disclosed that AFFF could

cause personal injury.

        184.    For these reasons, all applicable statutes of limitations have been tolled by

operation of the discovery rule with respect to Plaintiff’s claims.




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                               Fraudulent Concealment Tolling

       185.    All applicable statute of limitations have also been tolled by Defendants

knowing and active fraudulent concealment and denial of the facts alleged herein throughout

the time period relevant to this action.

       186.    Instead of disclosing critical safety information regarding AFFF, Defendants

have consistently and falsely represented the safety of AFFF products.

       187.    This fraudulent concealment continues through present day.

       188.    Due to this fraudulent concealment, all applicable statutes of limitations have

been tolled by operation of the discovery rule with respect to Plaintiff’s claims.

                                           Estoppel

       189.    Defendants were under a continuous duty to consumer, end users, and other

persons coming into contact with their products, including Plaintiff, to accurately provide

safety information concerning its products and the risk associated with the use of and

exposure to AFFF.

       189. Instead, Defendants knowingly, affirmatively, and actively concealed safety

information concerning AFFF and the serious risks associated with the use of and exposure

to AFFF.

       190. Based on the foregoing, Defendants are estopped from relying on any statute of

limitations in defense of this action.




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                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment against all Defendants, jointly and

severally, on each of the above-referenced claims and Causes of Action as follows: Plaintiff

Albert Gerbino, Jr. respectfully requests judgment against Defendants for actual,

compensatory, consequential, and punitive damages, together with the costs of this action,

and for such other and further relief as this Court may deem just and proper under the

circumstances.

                                        JURY DEMAND


       The Plaintiff hereby demands a trial by jury.

Dated: March 18, 2022
                                                 Respectfully submitted,


                                                 By:      s/ Tim J. Riemann
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                                                 -and-

                                                        /s/ Timothy R. West_________________
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